                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                            DOCKET NO. 3:13-cr-00274-MOC-DSC

UNITED STATES OF AMERICA,                     )
                                              )
                                              )
                                              )
Vs.                                           )                      ORDER
                                              )
RAMOND DEFORREST BOYD,                        )
                                              )
                Defendant(s).                 )



         THIS MATTER is before the court on the government’s Motion to Dismiss. Having

considered the government’s motion and reviewed the pleadings, the court enters the following

Order.

                                         ORDER

         IT IS, THEREFORE, ORDERED that the government’s Motion to Dismiss (#26) is

GRANTED, and this action is dismissed without prejudice.



             Signed: 1/17/2014




      Case 3:13-cr-00274-MOC-DSC         Document 29       Filed 01/17/14     Page 1 of 1
